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B2500A (Form 2500A) (12/15)



                           United States Bankruptcy Court
                     EASTERN         District Of TEXAS
In re   Payson Petroleum 3 Well, LP                             )         Case No.     17-40179
           Debtor                                               )             Jointly Administered
JASON R. SEARCY, CHAPTER 11 TRUSTEE                             )         Chapter 7
FOR PAYSON PETROLEUM, INC.                                      )
                                                                )
                Plaintiff                                       )
                                                                )
                                                                                               18-04074
                v.                                              )         Adv. Proc. No.
                                                                )
                                                                )
                Defendant                                       )


                       SUMMONS IN AN ADVERSARY PROCEEDING

YOU ARE SUMMONED and required to file a motion or answer to the complaint which is attached to
this summons with the clerk of the bankruptcy court within 30 days after the date of issuance of this
summons, except that the United States and its offices and agencies shall file a motion or answer to the
complaint within 35 days.
                                      US Bankruptcy Court Clerk Eastern District of Texas
              Address of the clerk: 660 North Central Expressway, Suite 300B
                                      Plano, TX 75074
                                      972-509-1240

At the same time, you must also serve a copy of the motion or answer upon the plaintiff's attorney.
          Name and Address of Plaintiff's Attorney:                      Blake Hamm/Bryan Prentice/Aaron Guerrero
                                                                         Snow Spence Green LLP
                                                                         2929 Allen Parkway, #2800
                                                                         Houston, TX 77019      713.335.4800
If you make a motion, your time to answer is governed by Fed. R. Bankr. P. 7012.


IF YOU FAIL TO RESPOND TO THIS SUMMONS, YOUR FAILURE WILL BE DEEMED
TO BE YOUR CONSENT TO ENTRY OF A JUDGMENT BY THE BANKRUPTCY COURT
AND JUDGMENT BY DEFAULT MAY BE TAKEN AGAINST YOU FOR THE RELIEF
DEMANDED IN THE COMPLAINT.


                                                                                        (Clerk of the Bankruptcy Court)

        Date:                                          By:                                    (Deputy Clerk)
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B2500A (Form 2500A) (12/15)



                                      CERTIFICATE OF SERVICE

       I,                                           (name), certify that service of this summons and a copy of
the complaint was made                                       (date) by:

              Mail service: Regular, first class United States mail, postage fully pre-paid, addressed
               to:



              Personal Service: By leaving the process with the defendant or with an officer or agent
               of defendant at:



              Residence Service: By leaving the process with the following adult at:



              Certified Mail Service on an Insured Depository Institution: By sending the process by
               certified mail addressed to the following officer of the defendant at:



              Publication: The defendant was served as follows: [Describe briefly]



              State Law: The defendant was served pursuant to the laws of the State of                            , as
               follows: [Describe briefly]



         If service was made by personal service, by residence service, or pursuant to state law, I further
certify that I am, and at all times during the service of process was, not less than 18 years of age and
not a party to the matter concerning which service of process was made.

       Under penalty of perjury, I declare that the foregoing is true and correct.


       Date                           Signature

               Print Name:

               Business Address:
